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           EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JPMORGAN CHASE BANK, N.A. et al,                               )
                                                               )
                                       Plaintiffs,             )
                                                               )      Case No. 18-cv-03447
        v.                                                     )
                                                               )      Hon. Andrea R. Wood
BERNARD S. BLACK, et al,                                       )
                                                               )
                                       Defendants.             )

            BERNARD S. BLACK AND SAMUEL BLACK’S SURREPLY
               IN FURTHER OPPOSITION TO JOANNE BLACK’S
       MOTION TO AUTHORIZE WITHDRAWAL OF INTERPLEADED ASSETS

        This Court should deny Joanne Black’s (“Joanne”) motion to authorize withdrawal of

interpleaded assets for the many reasons previously explained. This Court also should consider

this Surreply, which addresses matters Joanne newly raised in her reply brief and that Jeanette

Goodwin (“Goodwin”) and Anthony Dain (“Dain”) raised in a reply brief that they filed.

        Joanne, Goodwin, and Dain, in their replies, wrongly argue that Bernard Black (“Bernard”)

is trying to use this action as an end run around Denver Probate Court (the “DPC”) rulings. In

fact, Joanne, by her motion, is trying to use a DPC ruling to deny due process to parties in this

action. This is particularly concerning given that the Colorado Court of Appeals has repeatedly

held that the DPC rulings were entered in violation of due process rights or without a proper

jurisdictional basis. See, e.g., Black v. Black, 482 P.3d. 460, 472 (Colo. App. 2020) (reversing the

DPC order entering relief against Samuel Black in violation of his due process rights); Id. at 480-

82 (reversing the DPC order vacating disclaimer for lack of subject matter jurisdiction); In the

Interests of Joanne Black, Protected Person, 16CA0625 (Colo. App. 2018) (vacating the DPC fee

awards for failure to find facts establishing proper jurisdiction).



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         The order Joanne seeks to have this Court prematurely enforce is yet another improper

DPC order. It, too, likely will not withstand appeal on jurisdictional and due process grounds.

         The DPC order Joanne seeks to have this Court enforce was effectively entered ex parte,

without notice to the subject trusts’ trustees or beneficiaries (other than Joanne), who were the

only parties likely to object. Joanne wants to use that order to get legal fees paid from the

interpleaded assets without allowing parties to this action who are negatively affected by the DPC

fees ruling having any opportunity to object or question whether the fees are properly paid from

the two subject trusts and are reasonable, either in Colorado or here. Bernard and Samuel Black

(“Samuel”) are among the beneficiaries of those trusts.1 As such, they plainly have a right, and

should be given an opportunity, to challenge the payment of the fees from the trusts.

         In their replies, Dain and Goodwin essentially argue that this Court should not allow any

party in this action to review the legal invoices underlying the fee award or to challenge the legal

fees that Joanne seeks to have paid from the trusts’ assets. Their purported justification for that is

a prior DPC ruling supposedly barring Bernard (and notably only Bernard) from reviewing the

subject legal bills in violation of Bernard’s due process rights.2 The prior ruling did not bar

Bernard from receiving notice of motions and having an opportunity to respond, nor could it have

under the Colorado Rules of Civil Procedure, or Colorado and federal due process rights.



1
  Bernard and Samuel also are trustees of the trusts, although in 2023 the DPC sua sponte ordered them removed as
trustees, a ruling that will be challenged on appeal. The DPC entered the order removing Samuel as trustee even
though Samuel was not a party to the DPC proceedings in any capacity, never was served with process, and never was
given any opportunity to oppose or defend against the removal request. Samuel is not even subject to personal
jurisdiction in Colorado, having never set foot in that state. For Bernard, the DPC has jurisdiction over him as a trustee
of one of the trusts, but no Colorado law allows sua sponte removal, in other words, without notice and an opportunity
to respond, and without evidence presented to support removal. Unfortunately, as explained above, the DPC judge
who entered the order to remove Bernard and Samuel as trustees routinely ignores issues of due process, and
jurisdiction, and repeatedly has had rulings reversed on appeal on such grounds.
2
  That DPC ruling is one of many dubious rulings that Bernard plans to appeal. The ruling, however, is not yet ripe
for appeal, as the Colorado Court of Appeals recently rejected appeals by Bernard and Samuel as premature on grounds
that the DPC had not entered a final order. (December 1, 2023, Colorado Court of Appeals Order, Exhibit A hereto.)

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        Importantly, too, the DPC never ruled that Samuel could not review legal invoices and

challenge the payment of legal fees from trusts of which he is a beneficiary. Therefore, even if

there somehow was merit to the DPC’s ruling with respect to Bernard’s right to receive notice of

the underlying fees motion, his right to review legal invoices, and his right to challenge the

payment of legal fees from trusts of which he is a beneficiary (which there is not), the DPC’s ruling

did not, and cannot, apply to Samuel, who is not a party to the DPC proceedings and is not affected

by the DPC ruling that supposedly affects Bernard. Samuel plainly is entitled to challenge in this

action the payment of attorneys’ fees from trusts of which he is a beneficiary.

        Other counter-defendants, Kate Litvak (“Litvak”) and Olga Dal (“Dal”), likewise are not

parties to the DPC proceeding. They, too, are entitled to review the legal invoices and the basis

for paying them and challenge the payment of legal fees from the interpleaded assets.

        Joanne’s next argument that she does not have to file a claim to the interpleaded assets, if

accepted, would undermine the due process rights of Bernard, Samuel, and the other parties to this

action. Joanne seems to be suggesting that this Court should enter relief based upon a ruling of

another court that negatively affects several parties without affording any of those parties any

opportunity to challenge the basis of the ruling, anywhere. Joanne, of course, fails to cite any law

to support her argument. She merely argues that the DPC’s order should be upheld because the

DPC already found the attorneys’ fees to be reasonable in a proceeding in which no party who had

any reason to object to the reasonableness of the fees was afforded notice or an opportunity to

object to the reasonableness of the fees.

        Joanne ignores, again, that the DPC’s finding of reasonableness was made ex parte order

and is not binding either on parties who were not before the DPC or did not receive notice and an

opportunity to respond. In fact, as the United States Supreme Court repeatedly has held, “[i]t is



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elementary that one is not bound by a judgment … resulting from litigation in which he is not

designated as a party or to which he has not been made a party by service of process.” Zenith

Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 110 (1969). See also, Hansberry v. Lee,

311 U.S. 32, 40 (1940). Enforcing an order or judgment against one who had no notice of the

proceeding in which the order was entered violates a party’s due process rights. Id. at 41.

         Joanne also argues that the DPC order was not entered ex parte because Bernard and

Samuel were removed by the DPC as trustees. Again, Joanne ignores that the DPC’s order

removing Samuel as trustee is yet another instance of the DPC improperly entering relief against

Samuel in violation of his due process rights because he never was served with process before such

relief was entered against him. Her argument further ignores that the DPC has no authority under

Colorado law to sua sponte remove trustees without notice and without evidence presented to

support removal. Bernard plans to appeal that ruling as well. Moreover, even if properly removed

as trustees, Bernard and Samuel are beneficiaries of the trusts such that they should be given notice

and an opportunity to contest the requested payment of attorneys’ fees from the trusts.

         Joanne likewise contends that no party can challenge that the interpleaded assets are

conservatorship assets rather than trust assets. That notion, too, is wrong because, once again, that

ruling is not binding on parties who were not before the DPC. Further, the DPC’s recent ruling is

suspect and likely will not withstand appeal given the DPC’s own directly contrary rulings made

several years ago, one of which was upheld on appeal by the Colorado Court of Appeals.3




3
 The DPC ruling purportedly making the assets conservatorship assets rather than trust assets is based upon the DPC’s
recent ruling purportedly undoing a disclaimer that the DPC had approved in 2012 and then refused to undo in 2015
when challenged, a ruling upholding the disclaimer that eventually was affirmed on appeal by the Colorado Court of
Appeals. Black v. Black I, 422 P.3d, 592, 613 (Colo. App. 2018). There respectfully is no legal basis for the DPC to
reverse rulings made many years ago, especially in the absence of any new law or new evidence, nor has any authority
for reversing or vacating prior rulings, including one affirmed on appeal, ever been provided by the DPC or any party.

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        Joanne then contends that the DPC’s order not being final does not matter. Joanne is

wrong. This Court should not enforce an order that is not final, not yet appealable, and that may

yet be reversed on appeal. Bernard never had notice of the underlying motion, or the resulting

DPC order, and did not know of it until he learned of its through Joanne’s motion in this action.

He now has moved to vacate it and will appeal the order if the DPC denies his motion to vacate.

Joanne also cites no authority for this Court to enforce a non-final order of another court.

        With respect to the issue of the DPC’s lack of jurisdiction that Bernard and Samuel raised,

Joanne’s argument in her reply ignores the law that Bernard cited that orders entered by a court in

a guardianship or conservatorship proceeding without jurisdiction are void, not merely voidable.

The probate exception also is not a proper basis for Joanne trying to get this Court to enforce a

void order. Further, this Court already considered the probate exception and determined that it

does not apply to this action, and this Court has jurisdiction to maintain this interpleader action so

long as it does not take on the uniquely probate functions of the DPC. (Sept. 29, 2021, Order,

Docket # 197, at p. 14.) Awarding fees to be paid from interpleaded trust assets is well within this

Court’s interpleader jurisdiction.

        Finally, contrary to what Joanne asserts, Bernard and Samuel never argued that this Court

could not authorize withdrawal of interpleaded assets by Joanne until all other claims are resolved.

Rather, Bernard and Samuel explained why this Court should not authorize withdrawal by Joanne

until other claims are resolved and the priority of those claims is determined. At bottom, Joanne

has failed to provide a cogent reason why she should be paid on her claim ahead of other claims,

including a prior final judgment in favor of Dal that was affirmed on appeal, and prior judgments

obtained by Litvak, not to mention claims by Bernard and Samuel to the interpleaded assets.




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        In sum, for all the reasons previously explained and those set forth herein, this Court should

deny Joanne’s motion to authorize withdrawal of interpleaded assets.

                                               Respectfully submitted,

                                               BERNARD S. BLACK, individually and as Trustee
                                               of the 2013 Trust, the SNT and the Issue Trust, and
                                               SAMUEL BLACK, as Trustee of the 2013 Trust, the
                                               SNT and the Issue Trust

                                               By: /s/Sarah M. Freund
                                                    One of Their Attorneys




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          EXHIBIT A
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 Colorado Court of Appeals                                      DATE FILED: December 1, 2023
                                                                CASE NUMBER: 2023CA1197
 2 East 14th Avenue
 Denver, CO 80203

 Denver Probate Court
 2012PR1772

 In the Interest of

 Joanne Black, Protected Person,                                Court of Appeals Case
                                                                Number:
 Appellants:                                                    2023CA1197

 Bernard Black, individually and as Suspended Trustee for the
 Supplemental Needs Trust for the Benefit of Joanne Black
 and Samuel Black,

 v.

 Appellees:

 Jeanette Goodwin, Conservator and Gayle Y Young, Guardian
 Ad Litem.

                                   ORDER OF THE COURT

To:    The Parties and the Probate Court

       Upon consideration of the motion to dismiss the appeals filed by Samuel

Black and Bernard Black on October 13, 2023, and having reviewed the responses

thereto, and the reply—which this Court accepts—the Court GRANTS the motion

to dismiss and ORDERS that those appeals are hereby DISMISSED without

prejudice, for lack of a final, appealable judgment. Accordingly, the motion to stay

briefing for those appeal is DENIED as moot.
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     The appeal filed on July 14, 2023, proceeds. The opening brief remains due

on December 1, 2023.

                                           BY THE COURT
                                           Dailey, J.
                                           Welling, J.
                                           Brown, J.




                                       2
